Case 2:20-cv-06017-AS Document 21 Filed 10/14/21 Page 1 of 1 Page ID #:911



 1

 2

 3

 4

 5

 6

 7

 8                        UNITED STATES DISTRICT COURT

 9             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

10

11   KATHY P.R.,                           CASE NO. CV 20-06017-AS

12                    Plaintiff,

13        v.                                       JUDGMENT
14   KILOLO KIJAKAZI, Acting
     Commissioner of Social
15   Security,
16
                      Defendant.
17

18

19         IT IS HEREBY ADJUDGED that the decision of the Commissioner
20   of the Social Security Administration is reversed in part and the
21   matter is remanded for further administrative action consistent
22   with the Opinion filed concurrently herewith.
23

24        DATED:   October 14, 2021
25

26                                                       /s/
                                                      ALKA SAGAR
27                                           UNITED STATES MAGISTRATE JUDGE

28
